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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

   In re:                                            §
                                                     §       Case No. 23-10164-smr
   ASTRALABS, INC.,                                  §
                                                     §       Chapter 7
             Debtor.                                 §

        TRUSTEE’S WITNESS AND EXHIBIT LIST FOR JUNE 23, 2023 HEARING

  TO THE HONORABLE SHAD M. ROBINSON, U.S. BANKRUPTCY JUDGE, AND TO ALL
  PARTIES:

            Randolph N. Osherow, not individually but in his capacity as the duly appointed chapter 7

  trustee (in such capacity, the “Trustee”), for and on behalf of ASTRALABS, Inc. (the “Debtor”),

  hereby submits this Witness and Exhibit List in connection with the hearing to be held on June 23,

  2023, at 3:00 p.m. (prevailing Central Time) (the “Hearing”) to consider the Motion to Reconsider

  Order Converting Case to One Under Chapter 7 [Docket No. 119] and any other matters taken up

  by the Court at the Hearing.

                                                WITNESSES

            The Trustee reserves all rights to call any or all of the following as witnesses at the Hearing,

  including but not limited to by affidavit, declaration, or proffer.

            1.      Randolph N. Osherow, in his capacity as the Trustee;

            2.      Andrew Ryan / Ryan Rafols;

            3.      Robert C. Lane, The Lane Law Firm;

            4.      Kerstin Hadzik;

            5.      Thomas Dolezal, movant;

            6.      Matthew Kelly, movant;

            7.      Casey Melcher, movant;



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          8.     Hasan Ugur Koyluoglu, movant;

          9.     Any witness called or designated by any other party; and

          10.    Any rebuttal witnesses, as appropriate.

                                             EXHIBITS

          The Trustee reserves all rights to introduce and/or request judicial notice of any or all of

  the following Exhibits as evidence at the Hearing, each as may be amended, and expressly

  including any filed responses thereto, and any exhibits, schedules, addenda, and any and all other

  attachments or amendments thereto and thereof:




                                                                                MARKED

                                                                                         OFFERED

                                                                                                   OBJECT

                                                                                                            ADMIT
   No.     Description



    A.     Debtor’s Schedules [Docket No. 36]

    B.     Debtor’s Statement of Financial Affairs [Docket No. 37]

    C.     Statement of Operations [Docket No. 17]

    D.     Balance Sheet [Docket No. 18]

    E.     Cash Flow Statement [Docket No. 19]

    F.     Supplemental Budget [Docket No. 21]

    G.     Monthly Operating Report [Docket No. 65]

    H.     Transcript of Hearing Held May 11, 2023 [Docket No. 111]

     I.    Stay Relief Motion of AFCO Credit Corporation [Docket No. 127]

           Any and all Motions, Notices, pleadings, and other docket items
    J.
           filed of record in the Bankruptcy Case

    K.     Any and all exhibits designated by any other party

           Any and all other exhibits as may be appropriate for rebuttal or
    L.
           impeachment purposes



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  Dated: June 16, 2023                                 Respectfully submitted,

                                                       By: /s/ Jay H. Ong
                                                         Jay H. Ong
                                                         Texas Bar No. 24028756
                                                         Thanhan Nguyen
                                                         Texas Bar No. 24118479
                                                         MUNSCH HARDT KOPF & HARR, P.C.
                                                         1717 West 6th Street, Suite 250
                                                         Austin, Texas 78703
                                                         Telephone: (512) 391-6100
                                                         Facsimile: (512) 391-6149
                                                         Email:       jong@munsch.com
                                                                      anguyen@munsch.com

                                                       Proposed Counsel For Randolph N. Osherow,
                                                       Chapter 7 Trustee

                                       CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on the 16th day of June 2023, he personally caused
  true and correct copies of the foregoing document to be served by electronically filing it with the
  Court using the Court’s CM/ECF system, which sent notification to the parties receiving same
  through such system. A true and correct copy of the document, together with the listed exhibits
  not publicly available or previously provided, was also served on the parties listed on the attached
  service list via electronic mail:

                                                       By: /s/ Thanhan Nguyen
                                                              Thanhan Nguyen, Esq.




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                                        SERVICE LIST

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        Stephen W. Sather on behalf of Thomas Dolezal, Matthew Kelly, Casey Melcher, Hasan
        Ugur Koyluoglu
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        Ron Satija on behalf of Andrew Ryan
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        7600 Burnet Road, Suite 530
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        Eric Terry on behalf of Trustee Eric Terry
        Eric Terry Law, PLLC
        3511 Broadway
        San Antonio, TX 78209
        eric@ericterrylaw.com

        Shane P. Tobin on behalf of U.S. Trustee United States Trustee - AU12
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